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6
                              United States District Court
                                 Honorable Stanley A. Bastian
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8
      United States,                                        No. 4:22-cr-06040-SAB-1
9
                              Plaintiff,                    Motion in Limine – Government
10                                                          Argument re: Interest Rates
            v.
11
      Andrei S. Borgheriu,
12
                              Defendant.
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 1                                       I.     Summary

2           Mr. Borgheriu moves the Court, based on its Order Granting United States’

 3    Motion to Exclude (ECF No. 100), to exclude the United States from presenting any

4     testimony or argument that describes or explains the Economic Injury Disaster Loan as

 5    a “low-interest” loan. See ECF No. 74, United States’ Trial Brief, pg. 2 (“One source

6     of relief was the Small Business Administration’s EIDL program, which provided low-

 7    interest loans to small businesses”); see also ECF No. 26, Notice of Intent to Use Expert

8     Testimony, pg. 2 (“Mr. Brown will testify that in the context of the COVID-19

9     Pandemic, an EIDL is a low-interest […] loan”).

10          In the Court’s Order excluding Ms. McHard’s proposed testimony that a

11    personal mortgage could have been cheaper than an EIDL, the Court determined:

12              Finally, whether the EIDL may have been more expensive for

13              Defendant than other types of financing available to purchase the

14              property is not relevant nor helpful to the jury in determining

15              whether Defendant committed fraud.

16    See ECF No. 100.

17          This conclusion requires that characterization of interest rates as “low” be

18    taken off the table entirely. To hold otherwise would be to permit the government to

19    present speculative argument of motive or opportunity, but deny the defense the

      opportunity to rebut the same (i.e., through Ms. McHard’s testimony). While Mr.

                               Motion in Limine – Interest Rate
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 1    Borgheriu understands the Court’s concerns in its Order, the downstream impact of

2     the Order results in allowing only the prosecution to talk about interest rates, denying

 3    Mr. Borgheriu his constitutional right to confront the United States’ case.

4            As such, the Court must enter a further order clarifying that any characterization

 5    of interest rates is off limits to both parties.

6            Dated: January 15, 2025.

 7
                                           Federal Defenders of Eastern Washington & Idaho
8                                          Attorneys for Mr. Borgheriu

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                                Motion in Limine – Interest Rate
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 1                                  Service Certificate

2
           I certify that on January 15, 2025, I electronically filed the foregoing with the
 3
      Clerk of the Court using the CM/ECF System, which will serve all counsel of
4
      record.
 5
                                               s/Justin Lonergan
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                              Motion in Limine – Interest Rate
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